Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 1 of 19



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

  VIRGINIA VALLEJO,
  an Individual,                                               CASE NO.

         Plaintiff,                                            Jury Trial Requested
  v.

  NARCOS PRODUCTIONS LLC,
  a Delaware limited liability company;
  NETFLIX, INC., a Delaware corporation;
  GAUMONT TELEVISION USA LLC f/k/a
  GAUMONT INTERNATIONAL TELEVISION LLC,
  a Delaware limited liability company; and DYNAMO
  PRODUCCIONES S.A., a foreign business entity;

         Defendants.
                                                               /

               COMPLAINT FOR WILLFUL COPYRIGHT INFRINGEMENT
                          AND UNFAIR COMPETITION

         Plaintiff VIRGINIA VALLEJO (“Plaintiff” or “Vallejo”) hereby files her Complaint

  sounding in willful copyright infringement and unfair competition under both the Lanham Act and

  Florida common law and in support provides the following:

                       THE PARTIES & THE NATURE OF THE ACTION

         1.      Vallejo is a renowned and internationally recognized television and radio journalist,

  and the author of the acclaimed best-selling, “Amando a Pablo, Odiando a Escobar” in English:

  “Loving Pablo, Hating Escobar” (Vallejo’s “Memoir”).1 As noted therein, “[t]he [M]emoir details

  her relationship with Pablo Escobar, and her cooperation with Colombian and United States

  authorities in prosecuting Alberto Santofimio Botero, ex-Senator and ex-Minister of Justice, drug




         1
            This pleading contains several instances referring to passages from the Memoir or other
  writings and including translation of Spanish to English. These translations are not certified, but
  certified translations will be prepared in the course of proceedings as required.
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 2 of 19



  cartel bosses, and others.” These incredible events that are the subject of the Memoir placed

  Vallejo’s life in jeopardy. The United States government granted Vallejo political asylum, and

  she is a resident of the State of Florida, residing in this judicial district.

          2.      Narcos Productions LLC is a limited liability company organized under the laws of

  the State of Delaware and having its principal place of business at 750 N. San Vicente Boulevard,

  #1150 East Tower, West Hollywood, California 90069, and holds itself out as “the entity

  responsible for producing the highly successful, critically acclaimed, and award-winning

  television series Narcos” (hereinafter “Narcos Productions”).

          3.      Netflix, Inc. is a corporation organized under the laws of the State of Delaware with

  its principal executive offices at 100 Winchester Circle, Los Gatos, California 95032. Netflix

  produced and distributes the television program, Narcos, first released on or after August 28, 2015

  (hereinafter, “Narcos” or the “Show”).

          4.      Gaumont Television USA LLC f/k/a Gaumont International Television LLC is a

  limited liability company organized under the laws of the State of Delaware, with its principal

  executive offices at 750 North San Vicente Boulevard, Suite 1550 East Tower, West Hollywood,

  California 90069 (“Gaumont”).         Gaumont produces and distributes television programming

  including Narcos.

          5.      Dynamo Producciones S.A. is, upon information and belief, a business entity

  organized under the laws of Colombia with its principal place of business and core executive

  functions located at Carrera 13 #77 A-52, Bogotá, Colombia, but also actively maintains a physical

  office and presence within the United States at 195 Chrystie St., Of 303H, New York, New York

  10002 (“Dynamo”). Dynamo is an audiovisual producer of feature films and television, and is a

  producer of Narcos.



                                                      2
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 3 of 19



          6.      Netflix, Gaumont, and Narcos Productions are named in the public catalog as

  titleholders to a copyright pertaining to Season One of Narcos, Copyright Document Number

  V9913D321; Entire Copyright Document: V9913 D321 P1-5 (the “Narcos Copyright”).

          7.      Narcos Productions, Netflix, Gaumont, and Dynamo (collectively, “Defendants”)

  co-produced Narcos and ultimately caused it to be distributed for viewing throughout international

  markets including the United States and Florida. At the time of filing, Narcos is available for

  viewing through the Internet-based streaming video service or over-the-top provider, Netflix.

  Netflix also distributes digital video discs (“DVDs”) and Blu-ray discs of Narcos. Defendants

  have also caused Narcos to be broadcast on Univision.

                                        JURISDICTION AND VENUE

          8.      Defendants regularly conduct business within the State of Florida and have likewise

  committed the acts complained of herein in this State that have caused injury to Vallejo within the

  State of Florida. This includes, but is not limited to, continuous and systematic acts relating to

  production of, and distribution, broadcast, dissemination and related streaming of Narcos within

  Florida, including through Univision with Florida-based broadcast and promotional efforts.

          9.      Narcos Productions, Gaumont, and Dynamo have employed Netflix to allow the

  show Narcos to be streamed (which in turn has made it accessible for viewing) within the State of

  Florida, and caused the tortious acts complained of herein to cause harm to Vallejo (who lives and

  resides in this judicial district).

          10.     Narcos Productions, Netflix, Gaumont, and Dynamo each has sufficient minimal

  contacts to meet the minimal jurisdictional requirements under the laws of Florida and the U.S.

  Constitution.

          11.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.



                                                   3
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 4 of 19



  §§1331 and 1338. This Court has supplemental jurisdiction over the state law claims pursuant to

  28 U.S.C. §1367.

         12.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391, as a substantial part

  of the events or omissions giving rise to the claims concern copyright claims that occurred in this

  judicial district. Additionally, Defendants transact business in this judicial district including

  through the distribution of Narcos to Florida viewers and consumers.

                                   GENERAL ALLEGATIONS

                                 Vallejo, her life, and her Memoir

                                         Journalist Vallejo

         13.     An asylee from Colombia, now residing in Florida, internationally recognized

  journalist Vallejo created a stirring, widely consumed Memoir that is well known in the United

  States and abroad. The Memoir is her original work and expression, based in large part on her

  personal experiences, many of which were unknown prior to publication of her Memoir.

         14.     The Memoir is a work of approximately 400 pages, first published in the fall of

  2007. The Memoir was originally published in Spanish and later translated in 15 languages to be

  sold throughout Europe as well as North and South America.

         15.     In order to protect the considerable value in the underlying expression found within

  her Memoir, Vallejo filed an application before the United States Copyright Office (“Copyright

  Office”) for her Colombia based version of the 396-page book “Amando a Pablo, Odiando a

  Escobar” listing a first date of publication of September 22, 2007. The Copyright Office issued

  TX0007105765, having an effective registration date of March 11, 2010 for the underlying text of

  the Memoir (herein after “Copyright Registration 1”).

         16.     In addition to securing these rights, Vallejo prepared and filed before the Copyright



                                                   4
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 5 of 19



  Office second application for the Mexican published version of the 396-page book “Amando a

  Pablo, Odiando a Escobar” listing a first date of publication of October 2, 2007. The Copyright

  Office issued TX0007833787, having an effective registration date of January 6, 2014 for the

  underlying text of the Memoir (herein after “Copyright Registration 2”) (herein both the Copyright

  Registration 1 and Copyright Registration 2 are collectively referred to as the “Copyrights-in-

  Suit”).

            17.    The Copyrights-in-Suit in the Memoir were later monetized and authorized for

  purposes of a motion picture production adaptation “Loving Pablo” (hereinafter the “Authorized

  Film”).

            18.    Given the considerable coverage of the Memoir, Vallejo’s life experiences, and the

  resurgent interest in her life based on the Authorized Film, the recent re-broadcasts and Internet-

  based streaming of the Show and other productions pertaining to the infamous drug lord, Pablo

  Escobar (“Escobar”), individuals who desire an intensely personal story about Escobar know

  Vallejo and the Memoir as the source of a highly unique, distinctive and expressive literary work.

                                Defendants’ Implicated Show - Narcos

            19.    Defendants, Netflix, Gaumont, and Dynamo are producers of Narcos, and Narcos

  Production is listed as an owner of the copyright for Narcos Season One, and has enforced

  intellectual property rights pertaining to the Show. Narcos, Season One, in particular, spotlights

  with particular focus on the love affair between Pablo Escobar and a Colombian journalist and

  television personality, bearing a name which unquestionable caricaturizes Virginia Vallejo:

  Valeria Velez.

            20.    Defendants offer and widely disseminate Narcos throughout the United States,

  including within the State of Florida, as an over-the-top or streaming product, as well as



                                                   5
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 6 of 19



  additionally distribute that Show in both DVD and other commonly desired digital formats.

            21.   Season One of Narcos includes ten (10) episodes.

            22.   Defendants initially released Season One of Narcos on August 28, 2015. The Show

  has been a critical and commercial success for Defendants, although, though little data is publicly

  available on viewership.

            23.   The Show is currently available for download (via sale and/or rental) through

  various platforms, including Netflix (subscription-based), Amazon, eBay, and Best Buy, and

  broadcast nationally in the United States and elsewhere on Univision, including as below:

                    Platform               Release’s date or Price
                    Best Buy               $12.99 (DVD), $17.99 (Blu-ray)
                    Netflix                August 28, 2015
                    Amazon                 $12.61 (DVD)
                    Ebay                   $26.00
                    Univision Network      August 22, 2016


  Narcos has been broadcast in numerous countries, including on or since August 28, 2015:
                                     Country
                                     Austria
                                     Belgium
                                     Switzerland
                                     Germany
                                     France
                                     Netherlands
                                     United States
                                     Japan
                                     Spain
                                     Portugal
                                     Italy


            24.   Well before Defendants produced the Show, the Memoir was an international best

  seller.

            25.   As such, Defendants had considerable exposure and access to the Memoir (through

  its wide spread dissemination) which is protected by both Copyrights-in-Suit. Defendants have
                                                  6
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 7 of 19



  had a reasonable opportunity to view the Memoir, through its wide spread dissemination and

  availability as an international best seller, including availability both on-line and through sale from

  national retail book sellers (including through Amazon.com).

         26.     Despite such access (including through wide spread dissemination), Defendants did

  not furnish any consideration or attribute any credit to Vallejo for the Show.

         27.     Upon comparison of Narcos with the Memoir, there are multiple expressions – all

  of which go beyond scenes-a-faire – including certain specific, unique and highly creative plot

  points and more specifically Defendants’ Colombian television journalist “Valeria Velez”

  character is based upon, and duplicative of, the Memoir’s original expressions through the

  autobiographical recounting by Vallejo herself. Moreover, these specific, unique and highly

  creative plot points include very detailed settings, events unknown to the public save for their

  inclusion and expression in the Memoir.

         28.     In short, the underlying original expression found within Vallejo’s autobiographical

  Memoir unmistakably somehow found its way into multiple instances of expression found within

  Season One of Narcos.

                                       The Caress of a Revolver
                                         Episode 3, Season 1

         29.     As one initial example (of several), in Narcos Season One, episode 3, from

  approximately minutes 4:00 to 5:15, “Valeria Velez” has an intimate encounter with Pablo Escobar

  that involves a revolver. First, the Valeria Velez character is clearly based on the Memoir’s

  autobiographical recount of Vallejo’s profession, standing, and unique relationship with Escobar.

  Moreover, this detail of an intimate encounter between Vallejo and Escobar was not in the public

  domain until Vallejo revealed it upon publishing her Memoir. Specifically, the original expression

  the underlying event is referenced in the Memoir’s chapter: La caricia de un revolver (The caress

                                                    7
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 8 of 19



  of a revolver).

         30.        The foregoing substantial similarities between the Memoir and Episode 3 of Narcos

  Season One are far from happenstance. What is more, a closer side-by-side comparison of the

  expressions found within the Memoir and those contained within the Show further aggregate to

  confirm yet additional substantial similarities:

                                 Escobar’s Wife Meets Vallejo (Velez)
                                   Episode 2, Season 1 of the Show

           31.      In the Show, Escobar introduces Valeria Velez to his wife at an early civic event

   intended to propel Escobar into politics. Escobar’s wife, Victoria Henao (“Henao”), is portrayed

   as uncomfortable in the setting, outwardly cold toward Velez upon their meeting, and developing

   unease with Escobar’s elevating profile and the crowd. This scene is based on Vallejo’s Memoir’s

   unique and original expression of that very meeting and event in her chapter titled, “Dos futuros

   presidents y Veinte poemas de amor.” This unique scenario closely approximates Vallejo’s

   specific and exacting recount of a non-public, intimate exchange among her, Escobar, and Henao,

   inclusive of and dependent upon Vallejo’s expression of same in her Memoir.

                             That Palace in Flames & The Palace in Flames
                                    Episode 4, Season 1 of the Show

          32.       Episode 4 of Season 1 of Narcos misappropriates unique expressions found in the

  Memoir’s chapter, “That Palace in Flames,” (“Aquel palacio en llamas”). Defendants went so

  far as copying Vallejo’s Memoir chapter title for the title of this pivotal and gripping episode

  because of the fact that it is the most stirring and revelatory chapter in Vallejo’s Memoir.

          33.       Both Vallejo’s book chapter and this episode recount the deadly and tragic raid on

  Colombia’s Palace of Justice. M-19, or the 19th of April Movement, was known in the 1980s as

  an armed guerilla group operating in Colombia. The Palace of Justice housed Colombian



                                                     8
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 9 of 19



  government officials and jurists, including the Supreme Court of Colombia. On November 6, 1985,

  M-19 carried out an armed raid on the building, taking hostages, leading to a deadly, armed stand-

  off with Colombia’s military.

          34.    At the time of the Memoir’s publication, there was no judicial or historical proof

  that Escobar had contributed to M-19’s siege on the Palace of Justice. Indeed, it was not until

  Vallejo recounted the meeting between Escobar and the head of M-19 in her Memoir, reporting

  that Escobar paid M-19 to commit this attack, that this suspicion found evidence. Indeed, after

  publication of the Memoir, the case regarding the Palace of Justice was re-opened with a truth

  commission to study the tragedy, and Vallejo was called to testify about the unique and original

  expressions in her Memoir pertaining to this tragedy and its resulting investigation.

          35.    This episode of Narcos contains a scene in which Escobar personally meets with

  the leader of the rebel group, M-19. In the show, this person is named Iván Torres. In the Memoir,

  Vallejo recounts the personal meeting between Escobar and M-19 leader, Iván Marino Ospina.

  While Escobar’s connection to M-19 is part of the historical record, it was Vallejo’s Memoir that

  presented a unique expression of this in-person meeting, as well as of Escobar’s assumption of

  solidarity with the group’s cause, speaking in tones of Communist-style brotherhood with M-19.

          36.    Moreover, Vallejo recounts Escobar’s payment to M-19 for the siege of the Palace

  of Justice.

          37.    As shown by the foregoing, Defendants have misappropriated multiple separate and

  independent original portions of Vallejo’s unique protectable expressions (none of which

  constitute scenes-a-faire) found within the two (2) Copyrights-in-Suit.

          38.    As shown by the foregoing examples, Defendants’ taking of this separate, unique,

  and artistic expression of the events and imagery found within the two Copyrights-in-Suit was



                                                   9
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 10 of 19



   done without the knowledge, permission, authority, license, or right of Vallejo.

             39.    What is more, Defendants not only misappropriate portions of Vallejo’s highly

   unique protected expressions, but they do so by creating a would-be stand-in character – where

   Defendants chose the name with initials V.V. so as to intentionally and unquestionably link Velez

   as Vallejo.

             40.    Indeed, the actor portraying Velez, Stephanie Sigman, is quoted2 as admitting the

   obvious, stating:

       “Hago a Valeria Velez, un personaje distinto “I play Valeria Velez, a different character

       basado en la amante de Pablo Escobar, based on Pablo Escobar’s lover, Virginia

       Virginia Vallejo, un personaje importante en Vallejo, an important person in Colombia.”

       Colombia”.



            41.     Without question, Defendants intended not only to misappropriate the most

   valuable and gripping portions of Vallejo’s Memoir as the gravamen of Narcos, but went even

   further by adopting a character whose name and characteristics all clearly associate with Vallejo’s

   notoriety, goodwill and publicity rights – all in a deliberate and unbridled effort to increase the

   economic value of the Show.

             42.    As such, Defendants misappropriated the goodwill associated with Vallejo’s work

   for unauthorized commercial purposes and represented the Show in a manner that suggests it was

   approved, endorsed, sponsored, licensed and/or affiliated with Vallejo.

             43.    Upon information and belief, Defendants acted knowingly and willfully in the way


   2
    Gabriela Acosta, Entrevista exclusiva con la nueva chica Bond mexicana, available at:
   https://www.publimetro.com.mx/mx/noticias/2015/03/11/entrevista-exclusiva-con-la-nueva-
   chica-bond-mexicana.html (last visited August 22, 2018).
                                                   10
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 11 of 19



   and manner that it declined to seek right or license from Vallejo for permission to adapt portions

   of the Memoir, but used expressions of events and statements in the Memoir for Narcos,

   nonetheless. This information and belief is based in part on the commercial success and notoriety

   of the Memoir for a period of years before the development of Narcos.

           44.    Moreover, the mimicry of Vallejo’s chapter name (That Palace in Flames) coupled

   with the other misappropriations of unique expressions (The Caress of a Revolver) further confirm

   this intentional and knowing misconduct – all designed to suggest an affiliation and/or

   endorsement by Vallejo of these portions of Season One of the Show. The end result of

   Defendants’ collective misconduct is the unauthorized exploitation of both of Vallejo’s copyright

   registrations. Defendants’ ensuing promotion of both the Show, and ultimate commercial success,

   has resulted in considerable pecuniary gain to Defendants.

          45.     All of the foregoing has caused irreparable harm to Vallejo.

                                            COUNT I
                                 COPYRIGHT INFRINGEMENT
                       (United States Copyright Registration TX0007105765)

          46.     This Count I is an action for damages based on copyright infringement in violation

   of 17 U.S.C. § 501, et seq.

          47.     Vallejo repeats and re-alleges the allegations of paragraphs 1-45 of this Complaint

   as though fully set forth herein.

          48.     Vallejo is the owner of a copyright for the original work of authorship for the

   Memoir.

          49.     The United States Register of Copyrights issued Copyright Registration No.

   TX0007105765 regarding the Memoir (the “Copyright Registration 1”).

          50.     Copyright Registration 1 is both valid and subsisting.



                                                  11
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 12 of 19



          51.     Vallejo is the owner of the entire right, title and interest in and to Copyright

   Registration 1, which protects the Memoir.

          52.     Defendants directly and indirectly infringed Copyright Registration 1 by violating

   the exclusive rights of Vallejo, through Defendants’ copying, reproduction, distribution and

   adaptation of this text, namely through the preparation, distribution, dissemination, broadcasting,

   streaming and any and all related acts of display of the Show.

          53.     Defendants also controlled and financially benefitted from the Show.

          54.     Upon information and belief, Defendants’ infringing activities were knowingly

   engaged in with a willful and reckless disregard of Vallejo’s rights.

          55.     Defendants’ reproduction, preparation of derivative copies, advertising,

   distribution, and broadcast of the Show was, and continues to be, without license, and therefore

   constitutes an infringement in violation of 17 U.S.C. § 501.

          56.     Vallejo has suffered a compensable injury due to the infringing activities of

   Defendants.

          57.     Vallejo is entitled to recover either statutory and/or actual damages incurred as a

   result of Defendants’ infringing activities.

                                            COUNT II
                                 COPYRIGHT INFRINGEMENT
                       (United States Copyright Registration TX0007833787)

          58.     This Count II is an action for damages based on copyright infringement in violation

   of 17 U.S.C. § 501, et seq.

          59.     Vallejo repeats and re-alleges the allegations of paragraphs 1-45 of this Complaint

   as though fully set forth herein.

          60.     Vallejo is the owner of a copyright for the original work of authorship represented



                                                   12
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 13 of 19



   by the Memoir.

          61.     The United States Register of Copyrights issued Copyright Registration

   TX0007833787 regarding the Memoir (the “Copyright Registration 2”).

          62.     Copyright Registration 2 is both valid and subsisting.

          63.     Vallejo is the owner of the entire right, title and interest in and to Copyright

   Registration 2, which protects the Memoir.

          64.     Defendants directly and indirectly infringed Copyright Registration 2 by violating

   the exclusive rights of Vallejo, through Defendants’ copying, reproduction, distribution, and

   adaptation of this text, namely through the preparation, distribution, dissemination, broadcasting,

   streaming and any and all related acts of display of the Show.

          65.     Defendants also controlled and financially benefitted from the Show.

          66.     Upon information and belief, Defendants’ infringing activities were knowingly

   engaged in with a willful and reckless disregard of Vallejo’s rights.

          67.     Defendants’ reproduction, preparation of derivative copies, advertising,

   distribution, and display of the Show was, and continues to be, without license, and therefore

   constitutes an infringement in violation of 17 U.S.C. § 501.

          68.     Vallejo has suffered a compensable injury due to the infringing activities of

   Defendants.

          69.     Vallejo is entitled to recover either statutory and/or actual damages incurred as a

   result of Defendants’ infringing activities.

                                    COUNT III
                      FLORIDA COMMON LAW UNFAIR COMPETITION

          70.     This Count III is an action under the common law of the State of Florida for unfair

   competition against Defendants.

                                                   13
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 14 of 19



          71.     Vallejo repeats and re-alleges the allegations of paragraphs 1-45 of this Complaint

   as though fully set forth herein.

          72.     By misappropriating Vallejo’s text works and passing it off as their own,

   Defendants utilized unfair means to usurp the good will and reputation of Vallejo and her well-

   known Memoir.

          73.     Defendants are misappropriating and falsely describing to the general public the

   origin and source of the Show so as to cause confusion and mistake by the consumer as to the

   source and origin of its production.

          74.     Vallejo has no adequate remedy at law and has suffered harm and injury to her

   reputation.

          75.     Upon information and belief, Defendants’ acts are willful, wanton, intentional and

   malicious.

                                   COUNT IV
                 FEDERAL UNFAIR COMPETITION UNDER 15 U.S.C. § 1125(a)

          76.     This Count IV is an action for damages and relief under the Lanham Act, 15 U.S.C.

   § 1125(a) regarding Defendants’ acts constituting unfair competition.

          77.     Vallejo repeats and re-alleges the allegations of paragraphs 1-45 of this Complaint

   as though fully set forth herein.

          78.     Through her decades in the public eye in Colombia and abroad as a television

   journalist, and through international news coverage about her flight from Colombia, and thereafter

   the international commercial success of the Memoir and other public notoriety regarding her

   larger-than-life story, Vallejo has achieved certain source identifying characteristics regarding her

   name and likeness – as well as indicia regarding her persona. Those rights are exclusive to Vallejo.




                                                    14
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 15 of 19



           79.     Defendants – through their use of Vallejo’s likeness and approximation of her

   name, along with unique expressions from her Memoir – have employed and/or used Vallejo’s

   indicia, including an close derivative of her name and related symbolism for purposes of

   advertising, marketing and promoting the Show in interstate commerce including but not limited

   to under the description:

           “This dramatization is inspired by true events. However, certain scenes,
           characters, names, businesses, incidents, locations and events have been
           fictionalized for dramatic purposes.”

   (emphasis added).

           80.     Cross-references to, and conflation and association of, the Velez character with

   Vallejo abound. For example, in addition to Ms. Sigman’s quoted statement above, Wikipedia

   couples descriptions of actor Sigman’s role as a “character based on Virginia Vallejo, in the Netflix

   crime thriller, Narcos.”3 On the Narcos Season One page, the Velez character is described as “a

   Colombian journalist who also serves as Pablo Escobar’s mistress, based on Virginia Vallejo.”4

           81.     This year, a journalist sought an interview from Vallejo, evidencing this very sort

   of confusion:




   Vallejo heard from numerous, other journalists, inquiring about her perceived role in Narcos.

           82.     Another article also misidentified the Memoir as the “source of the Narcos series”

   earlier this year:5


   3
     See https://en.wikipedia.org/wiki/Stephanie_Sigman (last visited August 22, 2018).
   4
     See https://en.wikipedia.org/wiki/Narcos_(season_1)#Recurring_characters (last visited August
   22, 2018).
   5
     Andrés Guerra, Pablo Escobar’s lover: “He became a monster when I left him and started using
   dynamite” La Vanguardia (March 31, 2018),
                                                    15
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 16 of 19




           83.    Defendants’ television broadcasting partner, Univision, likewise equated the Velez
   character with Vallejo in promoting Univision’s broadcast of Narcos, and suggested a relationship
   to the Memoir:6




   https://www.lavanguardia.com/gente/20180331/442072882511/virginia-vallejo-amante-pablo-
   escobar-narcos-loving-pablo.html (last visited August 23, 2018) (English version provided by
   counsel).
   6
     Univision, La verdadera historia de Virginia Vallejo, la amante de Pablo Escobar
   Univision.com (August 24, 2016), https://www.univision.com/series/narcos/la-verdadera-
   historia-de-virginia-vallejo-la-amante-de-pablo-escobar (last visited August 23, 2018) (English
   versions provided by counsel).
                                                  16
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 17 of 19




          84.     Even the New York Times, in an article about Narcos, reported: “The Valeria Velez

   character was inspired by Virginia Vallejo, an anchorwoman whose dalliances with Escobar are

   described in the 2007 memoir ‘Loving Pablo, Hating Escobar.’”7

          85.     Such use by Defendants, including the manner in which the indicia has been used,

   has been designed and employed in a manner to suggest there is some consented-to and/or

   approved relationship between the Defendants and Vallejo, including but not limited to the

   suggestion that Show is based on her life, her experiences, and/or her Memoir.

          86.     Including for the reasons indicated by the articles and Internet sites referenced in

   this count, the use by Defendants of Vallejo’s indicia has caused or is likely to cause, and will

   continue to cause, confusion among consumers in that they will believe that the Show is endorsed,

   affiliated, sponsored and/or approved by Vallejo.

          87.     Defendants’ actions are in violation of 15 U.S.C. § 1125(a) in that the Defendants

   have used and continue to use, in relation to commercial activities, a false designation or origin,




   7
     Scott Tobias, ‘Narcos’ Season 2, Episode 8: A Grieving Kingpin, N.Y. Times, Sept. 8, 2016),
   https://www.nytimes.com/2016/09/07/arts/television/narcos-netflix-season-2-episode-8-
   recap.html (last visited August 22, 2018).
                                                   17
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 18 of 19



   or a false or misleading description which is likely to cause confusion, and to cause mistake, and

   to deceive, as to the affiliations, connection, or association of the Defendants and Vallejo.

          88.     Vallejo has suffered, and will continue to suffer, irreparable harm resulting from

   the acts of unfair competition by Defendants.

          89.     Vallejo has no adequate remedy at law.



                                       PRAYER FOR RELIEF

          WHEREFORE, for all of the foregoing reasons, Plaintiff VIRGINIA VALLEJO requests

   this Honorable Court grant relief in the following manner:

          a.      Vallejo be awarded all monetary remedies available under the Copyright Act,
                  including but not limited to, compensatory damages, statutory damages, treble
                  damages, interest, costs and attorney’s fees as legally permitted;

          b.      Enter a judgment against Defendants in an amount suitable to recompense Vallejo
                  for her loss of copyright licensing revenues;

          c.      Vallejo be awarded all other monetary remedies available under the Lanham Act
                  and common law of the State of Florida based upon Defendants’ actions of unfair
                  competition, including but not limited to, penalties and fines, compensatory
                  damages, treble damages, disgorgement of profits, interest, costs and attorney’s
                  fees as legally permitted by each count respectively; and

          d.      Any and all other relief that this Honorable Court deems just.



                                              JURY TRIAL REQUEST

          Plaintiff VIRGINIA VALLEJO requests a trial by jury.




                                                    18
Case 1:18-cv-23462-KMM Document 1 Entered on FLSD Docket 08/24/2018 Page 19 of 19




   Respectfully submitted this 24th day of August 2018.



                                                      /s/ Robert H. Thornburg
                                                      Robert Thornburg
                                                      Florida Bar No. 630829
                                                      E-Mail: rthornburg@allendyer.com
                                                      Joshua B. Spector
                                                      Florida Bar No. 584142
                                                      E-Mail: jspector@allendyer.com
                                                      Cameron C. Murphy
                                                      Florida Bar No. 125086
                                                      E-Mail: cmurphy@allendyer.com
                                                      ALLEN, DYER, DOPPELT
                                                      +GILCHRIST, P.A.
                                                      1221 Brickell Ave., Suite 2400
                                                      Miami, Florida 33131
                                                      Telephone:     (305) 374-8303
                                                      Facsimile:     (305) 374-8306

                                                      Attorneys for Plaintiff Virginia Vallejo




                                                 19
